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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION


                                       )
In re:                                 )                                Chapter 11
                                       )
HIGHLAND CAPITAL MANAGEMENT, L.P.,1    )
                  Debtor,              )                                Case No. 19-34054-SGJ11
                                       )
OFFICIAL COMMITTEE OF UNSECURED        )
CREDITORS,                             )
                  Plaintiff,           )
                                       )
       vs.                             )
                                                                        Adversary Proceeding No. 20-03195
                                       )
CLO HOLDCO, LTD., CHARITABLE DAF       )
HOLDCO, LTD., CHARITABLE DAF FUND, LP,
HIGHLAND DALLAS FOUNDATION, INC., THE )
DUGABOY INVESTMENT TRUST, GRANT        )
JAMES SCOTT III IN HIS INDIVIDUAL      )
CAPACITY, AS TRUSTEE OF THE DUGABOY )
INVESTMENT TRUST, AND AS TRUSTEE OF
                                       )

1
  The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.



                                                          1
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THE GET GOOD NONEXEMPT TRUST, AND                                )
JAMES D. DONDERO,                                                )
                           Defendants.                           )



                            THE LITIGATION TRUSTEE’S
               WITNESS AND EXHIBIT LIST FOR AUGUST 19, 2021 HEARING

          The Litigation Trustee,2 submits the following witness and exhibit list (the “Witness and

Exhibit List”), and designates the following exhibits in connection with the Official Committee of

Unsecured Creditors’ Motion To Further Extend the Stay of the Adversary Proceeding Through

October 15, 2021 [AP Docket No. 70], set for hearing at 9:30 AM (Central Time) on August 19,

2021.

          A.      Witnesses

                  1.       Marc S. Kirschner.

                  2.       Any witnesses called or designated by any other party.

                  3.       Any impeachment or rebuttal witnesses.

          B.      Exhibits

    No.                               Exhibit                                           Offered        Admitted
    1.     All exhibits necessary for impeachment purposes.
    2.     Any other document entered or filed in the above-styled
           bankruptcy case and adversary proceeding, including any
           exhibits thereto.
    3.     Any and all documents identified or offered by any other
           party.



2
  On August 11, 2021, the Debtor’s Fifth Amended Plan of Reorganization of Highland Capital Management, L.P.
[Docket No. 1472] (as may be amended, supplemented, or otherwise modified from time to time, the “Plan”) went
effective (the “Effective Date”). On the Effective Date, the official committee of unsecured creditors in the above-
referenced bankruptcy case was dissolved pursuant to the terms of the Plan. (Plan at 47.) Pursuant to the terms of the
Plan, the Litigation Sub-Trust (as defined in the Plan) was formed and the Litigation Trustee is now tasked with
prosecuting this Adversary Proceeding. (See id. at 26; Debtor’s Notice of Filing of Plan Supplement to the Fifth
Amended Plan of Reorganization of Highland Capital Management, L.P. (with Technical Modifications) [Docket No.
1811], Exhibit T [Docket No. 1811-4 at Article II, Section 2.2].) A formal motion to substitute the Litigation Trustee
as plaintiff in this Adversary Proceeding is forthcoming.


                                                          2
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Dated: August 16, 2021             SIDLEY AUSTIN LLP
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                                   COUNSEL FOR THE OFFICIAL COMMITTEE OF
                                   UNSECURED CREDITORS




                                          3
